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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                        1:00cr15-004-SPM

LINDA WILSON
                                  /

                                WRIT OF ATTACHMENT

        IN CONSIDERATION of the Petition for Writ of Attachment filed by the United

States of America, and finding that the defendant has an identified asset than can be

identified, located, seized and applied toward an outstanding debt of restitution,

        IT IS HEREBY ORDERED that the United States Marshal shall continue to seize

and hold until further order of this Court, the sum of $100,188.82, being the sum, with

interest, originally deposited by the defendant with the Clerk of Court as a portion of

defendant’s appearance bond. The defendant shall have thirty (30) days from the date

of the Marshal’s Return of this Writ to file any claim for relief as provided by 18 U.S.C.

3102.

        DONE and ORDERED this 20th day of October, 2005.


                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge
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                                    Marshal’s Return


       On                                       , the undersigned representative of the

United States Marshal seized and held and will continue to hold the sum of

$100,188.82 until further order of the Court.




                                                  Title




Copies to:    Linda Wilson                   William Sheppard, Esq,
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